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GIORDANO, HALLERAN & CIESLA, P.C.
                                                                           FILED
125 Half Mile Road, Suite 300
Red Bank, N.J. 07701                                                      SEP - 4 2020
(732) 741-3900
Matthew N. Fiorovanti, Esq. (027332006)                                      CHAMBERS OF
                                                                     FRANCIS R. HO0GSON, JR. P.J. Ch
KOFFSKY SCHWALB LLC                                                 SUPERIOR COURT OCEAN COUNTY

349 Fifth Avenue
New York, NY 10016
Attorneys for Plaintiffs, Chana Ringel and CR Lakewood, LLC, individually, and derivatively on
behalf of BCR Lakewood Holdings, LLC and Chana Ringel, individually and derivatively on
behalf of BCR Oakridge, LLC

 CHANA RINGEL and CR LAKEWOOD,                    SUPERIOR COURT OF NEW JERSEY
 LLC, individually, and derivatively on behalf    CHANCERY DIVISION
 of BCR LAKEWOOD HOLDINGS, LLC,                   OCEAN COUNTY

                             Plaintiffs,          DOCKET NO. OCN-C-127-15

                        v.                                       Civil Action

 BR LAKEWOOD, LLC and BENJAMIN
 RINGEL,

                             Defendants.

 CHANA RINGEL, individually, and
 derivatively on behalf of BCR OAKRIDGE,          DOCKET NO, OCN-C-152-16
 LLC,
                                                                 Civil Action
                             Plaintiffs,
                                                         SUPPLEMENTAL ORDER
                        v.                              ENFORCING SETTLEMENT
                                                             AGREEMENT
 BENJAMIN RINGEL, SUNSET HILL
 OAKRIDGE PLAZA, LLC, JOHN DOES 1-
 10, and ABC CORPORATIONS 1-10,

                             Defendants.



       THIS MATTER, having been opened to the court by plaintiffs Chana Ringel ("Plaintiff'

or "Chana"), individually and derivatively on behalf of BCR Oakridge, LLC ("BCR Oakridge"),

and CR Lakewood, LLC ("CR Lakewood"), individually and derivatively on behalf of BCR
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Lakewood Holdings, LLC ("BCR Lakewood Holdings") (collectively, "Plaintiffs"), by way of

cross-motion to settle the order resolving the motion to enforce the settlement agreement filed by

defendants BR Lakewood, LLC ("BR Lakewood"), Sunset Hill Oakridge Plaza, LLC ("Sunset

Hill") and Benjamin Ringel ("Benjamin") (collectively, "Defendants"), and the court having

considered the papers in support of and in opposition to the motion, and for good cause having

been shown;

          IT IS on this U day oferry, 2020,

          ORDERED that the order entered May 8, 2020 is hereby amended and supplemented to

provide that the Term Sheet annexed hereto as Exhibit "A" is hereby enforced in its entirety;

          IT IS FURTHER ORDERED that all parties to this litigation as well as all the trustees

of the Ringel Children Trust I shall execute the Term Sheet annexed hereto as Exhibit "A" within

seven (7) days of the date of this Order; and

          IT IS FURTHER ORDERED that counsel for Plaintiffs shall serve a copy of this order

upon counsel for Defendants within         days hereof.




                                                HON. FRAN      R. HODGSON, Jr., P.J.Ch.


Opposed

Unopposed

Does /14367866-v1
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             EXHIBIT "A"
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                                              TERM SHEET
    1. $ignatories — executed by the CR Parties and the BR Parties including the Ringel Children
       Trusts trustees.

    2. Pinewood
          .   . ComaleyE
                .
           i.      The Parties agree to sell the Pinewood Complex to a third party purchaser or to either
                 Chana Ringel or Benjamin Ringel, solely or in partnership or conjunction with any
                person or entity, via an arm's length sales process ("gale Process") intended to
                maxim.7e the value of the Pinewood Complex, to be brokered by a mutually acceptable
                real estate broker (the "Broker") pursuant to a listing agreement with the Broker in a
                form mutually acceptable to the Parties. Within fourteen (14) days from the date of the
                full execution of the Tenn Sheet, the Parties shall select the Broker. In the event the
                Parties cannot agree on the Broker within this fourteen (14) day period, the CR Parties
                shall propose the names of three (3) brokers to the BR Parties, who shall select one of
                the proposed brokers to serve as the Broker within seven (7) days. The Sale Process
                shall provide for the sale of the Pinewood Complex to the highest bidder pursuant to a
                binding agreement without any contingencies to closing including without limitation
                any due diligence or mortgage contingency. The proceeds of such sale (net of any
                customary closing costs, apportionment of Property Expenses, and out of pocket costs
                and expenses associated with the sale incurred by, or payable to, the Broker) shall be
                split equally between the CR Parties and the BR Parties, subject to the amount to the
                $2.5 million of escrowed funds from each side ($5 million in total), In the event of
                such contingency, the Parties agree to fully cooperate with the sale of the Pinewood
                Complex, including signing all necessary documents, facilitating access to the
                Pinewood Complex to the Broker, other brokers, and prospective buyers, and promptly
                providing or authorizing the provision of such financial and other information as may
                be requested by prospective buyers. The Parties shall have no discretion over the terms
                and consideration of any sale by the Broker other than that such sale shall comply with
                this provision and the Sale Process.

        ii.       With respect to the disposition of the Pinewood Complex or any ownership interests
                therein, the Parties shall cooperate with each other in good faith and in a timely manner
                to take advantage of any tax savings or tax deferral strategies to maximize realization
                of the value of the Pinewood Complex.

                  The Sales Process shall be under the auspices of the Court, and the Parties agree to
                present any issues or disputes regarding the Sales Process to the Court for resolution in
                the Court's sole discretion and authority. The Court's rulings with regard to the Sales
                Process shall be binding upon the Parties.

    3. Until Closed Affiliated Manages --Prior to the closing of the sale of the Pinewood
       Complex, the Pinewood Complex will continue to be managed by the current management
       company under the Court's existing order consistent with past practice and the distributions
       will continue as they currently exist at the discretion of the current management company.
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    4. Gertners Complex, Carey Complex, Clifton Centel\ and Clifton Property -- The BR
       Parties have divided the four remaining properties into two packages with Oertners
       Complex and Carey Complex with any existing mortgages on those properties hi one
       package (to be satisfied by the party taking the first package within 60 days of receiving
       the properties), and Clifton Center and. Clifton Property with any existing mortgages in the
       second package (to. be satisfied by the party taking the second package within 60 days of
       receiving the properties). Immediately after the execution of the Settlement Agreement
       (the "Selection Date"), Chana shall make the election to take title to the properties in one
       of the packages by written notice to Benjamin. . The package selected by Chana shall be
       deemed the "Selected Package," the package not selected by Chana shall be deemed the
       "Non-Selected Package," and the date on which Chana makes her selection shall be
       deemed the "Selection Date." Within 60 days of the Selection Date, the BR Parties shall
       use good faith and diligent efforts to cause the transfer of exclusive title to the Packaged
       Properties in the Selected Package to CR Lakewood or whoever Chana designates to
       receive the properties in the Selected Package, and the CR Parties shall use good faith and
       diligent efforts to cause the transfer of exclusive title to the Packaged Properties in the Non-
       Selected Package to the BR Parties or whoever Benjamin designates to receive the
       properties in the Non-Selected Package (the "Packaged Properties Closing Date"). The
       transfer of the foregoing properties shall be structured in such a way as to constitute a
       distribution under Section 731 of the Internal Revenue Code (the "Code"). The Parties
       hereby instruct the accountants and management company of BCR Lakewood, Affiliated
       Management, to ensure that the books and records and tax filings of BCR Lakewood and
       the Companies be consistent with the foregoing treatment and intent.
        In the event either of the Parties does not close or fulfill any of the transactions or transfers
        contemplated by this Agreement, the Parties agree to present any issues or disputes to the
        Court for resolution in the Court's sole discretion and authority. The Court's rulings with
        regard to the Packaged Properties shall be binding upon the Parties.

    5. Arbitration of Remaining Claims in the Actions. The Parties shall submit all remaining
       claims in the Actions (the "Remaining Claim") including the parties' respective claims
       for monetary damages in the BCR Lakewood action, and the parties' respective claims in
       the Oakridge action including Chana's claims for equitable relief with respect to the
       Oakridge property owned by Sunset to binding arbitration ("Arbitration"), which shall
       occur at a mutually acceptable location in New Jersey. Within fourteen (14) days from the
       date of the full execution of the Settlement Agreement, the Parties shall select a mutually
       acceptable arbitrator ("Arbitrator"). In the event the Parties cannot agree on an arbitrator
       within this fourteen (14) day period, the CR Parties shall propose three (3) arbitrators to
       the BR Parties, who shall select one of the proposed arbitrators to serve as Arbitrator within
       seven (7) days. The Arbitrator shall have the right to award all of the equitable and legal
       relief as requested by the Parties in the Actions. The Arbitration shall take place within
       two (2) months from the date of the selection of the Arbitrator. In the event the Arbitration
       does not begin within two (2) months (6) from the date of the selection of the Arbitrator,
       the Actions shall continue to be tried before Honorable Francis R. Hodgson, Jr., P.J.Ch.,
       Superior Court of New Jersey, on dates set by the Court



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    6. Escrowed Funds. In the event the sale of the Pinewood Complex occurs prior to the
       issuance of a final arbitration award In the Arbitration or the entry of final judgment in the
       Actions, the CR Parties and the BR Parties shall each escrow with the Court the sum of
       $2.5 million (L e., $5 million intotal) ("Escrowed Funds") as discussed above. The Parties
       shall submit a Consent Order to the Court for filing which provides that the Escrowed
       Funds shall be, used, solely. to satisfy any claim for monetary relief by any Party in the
       Actions, and that the Escrowed Funds shall not be subject to. execution by. any jiidgitent
       creditor of the Parties.
    7. Jurisdiction of the Court. The Court shall maintain jurisdiction over the Parties to enforce
       the terms of the Settlement Agreement.



                           -- SIGNATURE PAGE TO FOLLOW —




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          IN WITNESS WHEREOF, the Parties have caused this Term Sheet to be duly executed
  as of the date set forth with their respective signatures below.




  Dated:          2020
                                                   CBANA RINGEL



                                                   CR LAKEWOOD, LLC

        SPAT( 2020
   Dated:                                                             Ofk914-g_
                                                   By: Ghana Ringel
                                                   Title: Manager




  Dated: July    , 2020
                                                   BENJAMIN RIN GEL



                                                   BR LAKEWOOD, LLC


  Dated: July    , 2020
                                                   By:
                                                   Title:



                                                   SUNSET HILL OAICRIDGE PLAZA, LLC


  Dated: July    , 2020
                                                   By:
                                                   Title:




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           as of 1-




            Datvd: July         2020
                                                              CJMNA itirsi(O41#



                                                             eft LAKEWOOD, LLC


            Dated: july__, 2020
                                                             By: Chum kingel
                                                             Title: Manager




            Data: JAI-iy      ( i 2020
                                                             BErsIM      RINGE



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                                                             By: 9_,        RA-t4
                                                                        01,15%      0.2eA.


                                                             SUNHAT mu, OAKRIDGE PLAZA, LLC


           Dated: -July 2       2020
                                                             By: 'Pm %44 h
                                                             Title: Hu tole r




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            Dated: itb       2020




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            Dgeds MI         .2020
                                                    By:
                                                    Title:     My" le4regA.P.
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